         Case 3:20-cv-00171-AC          Document 30     Filed 10/19/20     Page 1 of 15




                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON


  JOHN BYRNE, Individually and on                                   Case No: 3:20-cv-00171-AC
  behalf of all others similarly situated,
                                                      ORDER PRELIMINARILY APPROVING
          Plaintiff,                                        CLASS ACTION SETTLEMENT

          v.

  WESTPAC BANKING CORPORATION,
  BRIAN CHARLES HARTZER, and PETER
  FRANCIS KING,

          Defendants.




                           ORDER PRELIMINARILY APPROVING
                        SETTLEMENT AND PROVIDING FOR NOTICE

       WHEREAS, a case is pending in this Court entitled Byrne v. Westpac Banking Corp. et

al., 3:20-cv-00171-AC (the "Action").

       WHEREAS, (a) Lead Plaintiff Edward Davies and named plaintiff John Byrne

(collectively "Plaintiffs"), on behalf of themselves and the Settlement Class (defined below); and

(b) defendant Westpac Banking Corporation ("Westpac), and defendants Brian Charles Hartzer

and Peter Francis King (collectively, the "Individual Defendants," and, together with Westpac, the


1 ORDER PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT
        Case 3:20-cv-00171-AC          Document 30        Filed 10/19/20      Page 2 of 15




"Defendants" and, together with Plaintiffs, the "Parties") have determined to settle all claims

asserted against Defendants in this Action with prejudice on the terms and conditions set forth in

the Stipulation and Agreement of Settlement, dated October 6, 2020 (the "Stipulation") subject to

approval of this Court (the "Settlement");

       WHEREAS, Plaintiffs have made an application, pursuant to Rule 23 of the Federal Rules

of Civil Procedure, for an order preliminarily approving the Settlement in accordance with the

Stipulation, certifying the Settlement Class for purposes of the Settlement only, and allowing

notice to Settlement Class Members as more fully described herein;

       WHEREAS, the Court has read and considered: (a) Plaintiffs' motion for preliminary

approval of the Settlement, and the papers filed and arguments made in connection therewith; and

(b) the Stipulation and the exhibits attached thereto; and

       WHEREAS, unless otherwise defined herein, all capitalized words contained herein shall

have the same meanings as they have in the Stipulation;

       NOW THEREFORE, IT IS HEREBY ORDERED:

               1.      Class Certification for Settlement Purposes - Pursuant to Rule 23(a) and

(b)(3) of the Federal Rules of Civil Procedure, the Court certifies, solely for purposes of

effectuating the proposed Settlement, a Settlement Class consisting all persons who purchased any

Westpac securities traded on a U.S. exchange, including but not limited to, Westpac American

Depositary Receipts ("ADRs") traded on the New York Stock Exchange ("NYSE") ("Westpac

Securities") from November 11, 2015 to November 19, 2019, inclusive (the "Settlement Class

Period"). Excluded from the Settlement Class are:            (i) the Defendants; (ii) members of the

Immediate Family of each of the Individual Defendants; (iii) any entity in which any Defendant

has a controlling interest; (iv) the officers and directors of Westpac during the Settlement Class




                                                 2
        Case 3:20-cv-00171-AC          Document 30       Filed 10/19/20     Page 3 of 15




Period; and (v) the legal representatives, heirs, successors or assigns of any such excluded party.

Also excluded from the Settlement Class are any persons and entities who or which exclude

themselves by submitting a request for exclusion that is accepted by the Court.

       2.      Class Findings- Solely for purposes of the proposed Settlement of this Action, the

Court finds that each element required for certification of the Settlement Class pursuant to Rule

23 of the Federal Rules of Civil Procedure has been met: (a) the members of the Settlement Class

are so numerous that their j oinder in the Action would be impracticable; (b) there are questions of

law and fact common to the Settlement Class which predominate over any individual questions;

(c) the claims of Plaintiffs in the Action are typical of the claims of the Settlement Class; (d)

Plaintiffs and Lead Counsel have and will fairly and adequately represent and protect the interests

of the Settlement Class; and (e) a class action is superior to other available methods for the fair

and efficient adjudication of the Action.

       3.      The Court hereby finds and concludes that pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and for the purposes of the Settlement only, Lead Plaintiff Edward Davies is

an adequate Class Representative and certifies him as Class Representative for the Settlement

Class. The Court also appoints Lead Counsel as Class Counsel for the Settlement Class pursuant

to Rule 23(g) of the Federal Rules of Civil Procedure.

       4.      Preliminary Approval of the Settlement - The Court hereby preliminarily

approves the Settlement, as embodied in the Stipulation, as being fair, reasonable and adequate to

the Settlement Class, subject to further consideration at the Final Approval Hearing to be

conducted as described below.

       5.      Final Approval Hearing- The Court will hold a final approval hearing (the "Final

Approval Hearing") on April 20, 2020 at 9:30 a.m., in Courtroom 1127 of the Mark 0. Hatfield




                                                 3
        Case 3:20-cv-00171-AC          Document 30       Filed 10/19/20      Page 4 of 15




United States Courthouse, 1000 Third Avenue, Portland, Oregon, for the following purposes: (a)

to determine whether the proposed Settlement on the terms and conditions provided for in the

Stipulation is fair, reasonable and adequate to the Settlement Class, and should be approved by the

Court; (b) to determine whether Final Orders and Judgment substantially in the form attached as

Exhibit B and Exhibit C to the Stipulation should be entered dismissing the Action with prejudice

against Defendants; (c) to determine whether the proposed Plan of Allocation for the proceeds of

the Settlement is fair and reasonable and should be approved; (d) to determine whether the motion

by Lead Counsel for an award of attorneys' fees and reimbursement of Litigation Expenses should

be approved; and (e) to consider any other matters that may properly be brought before the Court

in connection with the Settlement. Notice of the Settlement and the Final Approval Hearing shall

be given to Settlement Class Members as set forth in paragraph 7 of this Order.

       6.      The Court may adjourn the Final Approval Hearing without further notice to the

Settlement Class and may approve the proposed Settlement with such modifications as the Parties

may agree to, if appropriate, without further notice to the Settlement Class.

               7.      Retention of Claims Administrator and Manner of Giving Notice -

Lead Counsel is hereby authorized to retain Strategic Claims Services (the "Claims

Administrator") to supervise and administer the notice procedure in connection with the proposed

Settlement as well as the processing of Claims as more fully set forth below. Defendants shall

cooperate in the administration of the Settlement to the extent reasonably necessary to effectuate

its terms. Notice of the Settlement and the Final Approval Hearing shall be given by Lead Counsel

as follows:

               (a)     not later than twenty (21) business days after the date of entry of this Order

(the "Notice Date"), the Claims Administrator shall cause a copy of the Postcard Notice,




                                                 4
        Case 3:20-cv-00171-AC          Document 30        Filed 10/19/20     Page 5 of 15




substantially in the form attached hereto as Exhibit 4, to be mailed by first-class mail to potential

Settlement Class Members;

                (b)    contemporaneously with the mailing of the Postcard Notice, the Claims

Administrator shall cause copies of the detailed Notice and the Claim Form to be posted on a

website to be developed for the Settlement, from which copies of the Notice and Claim Form can

be downloaded;

                (c)    not later than ten (10) business days after the Notice Date, the Claims

Administrator shall cause the Summary Notice, substantially in the form attached hereto as Exhibit

3, to be published once in Investor's Business Daily and to be transmitted once over the PR

Newswire; and

                (d)    not later than seven (7) calendar days prior to the Final Approval Hearing,

Lead Counsel shall serve on Defendants' Counsel and file with the Court proof, by affidavit or

declaration, of such mailing and publication.

       8.       Approval of Form and Content of Notice-The Court: (a) approves, as to form

and content, the Notice, the Claim Form, the Summary Notice, and the Postcard Notice attached

to the Stipulation and Agreement of Settlement (ECF No. 29), as Exhibits Al ((ECF No. 29-4, p.

61), A2 (ECF No. 29-4, p. 83), A3 (ECF No. 29-4, p. 99), and A4 (ECF No. 29-4, p. 103),

respectively, and (b) finds that the mailing and distribution of the Postcard Notice, the posting of

the detailed Notice and Claim Form online, and the publication of the Summary Notice in the

manner and form set forth in paragraph 7 of this Order: (i) is the best notice practicable under the

circumstances; (ii) constitutes notice that is reasonably calculated, under the circumstances, to

apprise Settlement Class Members of the pendency of the Action, of the effect of the proposed

Settlement (including the Releases to be provided thereunder), of Lead Counsel's motion for an




                                                 5
        Case 3:20-cv-00171-AC           Document 30       Filed 10/19/20      Page 6 of 15




award of attorneys' fees and reimbursement of Litigation Expenses, of their right to object to the

Settlement, the Plan of Allocation and/or Lead Counsel's motion for attorneys' fees and

reimbursement of Litigation Expenses, of their right to exclude themselves from the Settlement

Class, and of their right to appear at the Final Approval Hearing; (iii) constitutes due, adequate

and sufficient notice to all persons and entities entitled to receive notice of the proposed

Settlement; and (iv) satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure,

the United States Constitution (including the Due Process Clause), the Private Securities Litigation

Reform Act of 1995, 15 U.S.C. § 78u-4, as amended, and all other applicable law and rules. The

date and time of the Final Approval Hearing shall be included in the Postcard Notice, Notice, and

Summary Notice before they are mailed, posted online, and published, respectively.

       9.      Nominee Procedures - Brokers and other nominees who purchased Westpac

Securities traded on a U.S. exchange, including the NYSE, during the Settlement Class Period for

the benefit of another person or entity shall within seven (7) calendar days of receipt of the notice,

either: (i) request copies of the Postcard Notice sufficient to send the Postcard Notice to all

beneficial owners for whom they are nominee or custodian, and within seven (7) calendar days

after receipt thereof send copies to such beneficial owners; (ii) request an electronic copy of the

Summary Notice and email the Summary Notice in electronic format to each beneficial owner for

whom they are nominee or custodian within seven (7) calendar days after receipt thereof; or (iii)

provide the Claims Administrator with lists of the names, last known addresses and email

addresses (to the extent known) of such beneficial owners, in which event the Claims

Administrator shall promptly deliver the Summary Notice, if email addresses are available, or

Postcard Notice to such beneficial owners. If the Claims Administrator receives an email address,

it will send a Summary Notice electronically. Nominees or custodians who elect to email the




                                                  6
        Case 3:20-cv-00171-AC          Document 30       Filed 10/19/20      Page 7 of 15




Summary Notice or send the Postcard Notice to their beneficial owners shall send a written

certification to the Claims Administrator confirming that the mailing has been made as directed.

Copies of the Postcard Notice shall be made available to any nominee or custodian requesting

same for the purpose of distribution to beneficial owners. The Claims Administrator shall, if

requested, reimburse nominees or custodians out of the Settlement Fund solely for their reasonable

out-of-pocket expenses incurred in providing notice to beneficial owners, which expenses would

not have been incurred except for the providing of names and addresses, in amounts up to: (i)

$0.05 per name and address provided; (ii) $0.05 per email for emailing notice; or (iii) $0.05 per

postcard, plus postage at the rate used by the Claims Administrator, for mailing Postcard Notice,

subject to further order of this Court with respect to any dispute concerning such reimbursement.

       10.     Participation in the Settlement - Settlement Class Members who wish to

participate in the Settlement and to be eligible to receive a distribution from the Net Settlement

Fund must complete and submit a Claim Form in accordance with the instructions contained

therein. Unless the Court orders otherwise, all Claim Forms must be postmarked no later than

sixty (60) calendar days after the Notice Date. Notwithstanding the foregoing, Lead Counsel may,

at its discretion, accept for processing late Claims, provided such acceptance does not delay the

distribution of the Net Settlement Fund to the Settlement Class. By submitting a Claim, a person

or entity shall be deemed to have submitted to the jurisdiction of the Court with respect to his, her

or its Claim and the subject matter of the Settlement.

       11.     Each Claim Form submitted must satisfy the following conditions: (a) it must be

properly completed, signed and submitted in a timely manner in accordance with the provisions of

the preceding paragraph; (b) it must be accompanied by adequate supporting documentation for

the transactions and holdings reported therein, in the form of broker confirmation slips, broker




                                                 7
        Case 3:20-cv-00171-AC          Document 30        Filed 10/19/20     Page 8 of 15




account statements, an authorized statement from the broker containing the transactional and

holding information found in a broker confirmation slip or account statement, or such other

documentation as is deemed adequate by Lead Counsel or the Claims Administrator; (c) if the

person executing the Claim Form is acting in a representative capacity, a certification of his, her

or its current authority to act on behalf of the Settlement Class Member must be included in the

Claim Form to the satisfaction of Lead Counsel or the Claims Administrator; and (d) the Claim

Form must be complete and contain no material deletions or modifications of any of the printed

matter contained therein and must be signed under penalty of perjury.

       12.     Any Settlement Class Member that does not timely and validly submit a Claim

Form or whose Claim is not otherwise approved by the Court: (a) shall be deemed to have waived

his, her or its right to share in the Net Settlement Fund; (b) shall be forever ban-ed from

participating in any distributions therefrom; (c) shall be bound by the provisions of the Stipulation

and the Settlement and all proceedings, determinations, orders and judgments in the Action relating

thereto, including, without limitation, the Judgment or Alternate Judgment, if applicable, and the

Releases provided for therein, whether favorable or unfavorable to the Settlement Class; and (d)

will be barred from commencing, maintaining or prosecuting any of the Released Plaintiffs'

Claims against each and all of Defendant Releasees, as more fully described in the Stipulation and

Notice. Notwithstanding the foregoing, late Claim Forms may be accepted for processing as set

forth in paragraph 10 above.

        13.    Exclusion From the Settlement Class - Any member of the Settlement Class who

wishes to exclude himself, herself or itself from the Settlement Class must request exclusion in

writing within the time and in the manner set forth in the Notice, which shall provide that: (a) any

such request for exclusion from the Settlement Class must be mailed or delivered such that it is




                                                 8
           Case 3:20-cv-00171-AC       Document 30       Filed 10/19/20      Page 9 of 15




received no later than forty-five (45) calendar days prior to the Final Approval Hearing, by: In re

Westpac Class Action Litigation, EXCLUSIONS, c/o Strategic Claims Services, P.O. Box 230,

600 N. Jackson St., Suite 205, Media, PA 19063; and (b) each request for exclusion must (i) state

the name, address, and telephone number of the person or entity requesting exclusion, and in the

case of entities, the name and telephone number of the appropriate contact person; (ii) state that

such person or entity "requests exclusion from the Settlement Class in In re Westpac Class Action

Litigation, 3 :20-cv-00 171-AC"; (iii) state the number of shares of Westpac Securities (in terms of

ADRs) traded on a U.S. exchange that the person or entity requesting exclusion purchased and/or

sold during the Settlement Class Period, as well as the dates and prices of each such purchase and

sale; (iv) identify and state the number of each Westpac Security (in terms of ADRs) that the

person or entity requesting exclusion held at the beginning of the Settlement Class Period; (v) state

the aggregate number of Westpac Securities (in terms of AD Rs) that the person or entity requesting

exclusion purchased/acquired during the Settlement Class Period and held as of November 19,

2019; and (vi) be signed by the person or entity requesting exclusion or an authorized

representative. A request for exclusion shall not be effective unless it provides all the required

information and is received within the time stated above or is otherwise accepted by the Court.

       14.      The Claims Administrator shall provide any and all requests for exclusion described

in Paragraph 12 herein to Defendants' Counsel, in the form in which they were received, on a

rolling basis as they are received, however, all such requests for exclusion shall be provided to

Defendants' Counsel no later than thirty-five (35) calendar days prior to the Final Approval

Hearing.     Thirty-five (35) calendar days prior to the Final Approval Hearing, the Claims

Administrator shall also provide to Defendants' Counsel its calculation of the number of Westpac

Securities that were purchased or acquired during the Settlement Class Period and held through




                                                 9
        Case 3:20-cv-00171-AC          Document 30       Filed 10/19/20      Page 10 of 15




the end of the Settlement Class Period by the individuals who would otherwise be Settlement Class

Members but are requesting exclusion.

        15.    Any person or entity who or which timely and validly requests exclusion in

compliance with the terms stated in this Order and is excluded from the Settlement Class shall not

be a Settlement Class Member, shall not be bound by the terms of the Settlement or any orders or

judgments in the Action and shall not receive any payment out of the Net Settlement Fund.

        16.    Any Settlement Class Member who or which does not timely and validly request

exclusion from the Settlement Class in the manner stated in this Order: (a) shall be deemed to

have waived his, her or its right to be excluded from the Settlement Class; (b) shall be forever

barred from requesting exclusion from the Settlement Class in this or any other proceeding; (c)

shall be bound by the provisions of the Stipulation and Settlement and all proceedings,

determinations, orders and judgments in the Action, including, but not limited to, the Judgment or

Alternate Judgment, if applicable, and the Releases provided for therein, whether favorable or

unfavorable to the Settlement Class; and (d) will be barred from commencing, maintaining or

prosecuting any of the Released Plaintiffs' Claims against any of Defendant Releasees, as more

fully described in the Stipulation and Notice.

        17.    Appearance and Objections at Final Approval Hearing-Any Settlement Class

Member who does not request exclusion from the Settlement Class may enter an appearance in the

Action, at his, her or its own expense, individually or through counsel of his, her, their, or its own

choice, by filing with the Clerk of Court and delivering a notice of appearance to both Lead

Counsel and Defendants' Counsel, at the addresses set forth in paragraph 17 below, such that it is

received no later than fourteen (14) calendar days prior to the Final Approval Hearing, or as the




                                                 10
       Case 3:20-cv-00171-AC         Document 30       Filed 10/19/20     Page 11 of 15




Court may otherwise direct. Any Settlement Class Member who does not enter an appearance will

be represented by Lead Counsel.

       18.     Any Settlement Class Member who does not request exclusion from the Settlement

Class may file a written objection to the proposed Settlement, the proposed Plan of Allocation,

and/or Lead Counsel's motion for an award of attorneys' fees and reimbursement of Litigation

Expenses and appear and show cause, if he, she or it has any cause, why the proposed Settlement,

the proposed Plan of Allocation and/or Lead Counsel's motion for attorneys' fees and

reimbursement of Litigation Expenses should not be approved; provided, however, that no

Settlement Class Member shall be heard or entitled to contest the approval of the terms and

conditions of the proposed Settlement, the proposed Plan of Allocation and/or the motion for

attorneys' fees and reimbursement of Litigation Expenses unless that person or entity has filed a

written objection with the Court and served copies of such objection on Lead Counsel and

Defendants' Counsel at the addresses set forth below such that they are received no later than

twenty-one (21) calendar days prior to the Final Approval Hearing.

                 Lead Counsel                               Defendants' Counsel

          The Rosen Law Firm, P.A.                      Cravath, Swaine & Moore LLP
               Sara Fuks, Esq.                             Timothy Cameron, Esq.
        275 Madison Avenue, 40 th Floor                      825 Eighth Avenue
            New York, NY 10016                                New York, NY 10019

                                                                 Jones Day
                                                           Robert Micheletto, Esq.
                                                             250 Vesey Street
                                                             New York, NY 10281

               19.    Any objections, filings and other submissions by the objecting Settlement

Class Member: (a) must state the name, address, and telephone number of the person or entity

objecting and must be signed by the objector; (b) must contain a statement of the Settlement Class




                                               11
        Case 3:20-cv-00171-AC         Document 30        Filed 10/19/20    Page 12 of 15




Member's objection or objections, and the specific reasons for each objection, including any legal

and evidentiary support the Settlement Class Member wishes to bring to the Court's attention; (c)

must include documents sufficient to prove membership in the Settlement Class, including the

number of shares of Westpac Securities traded on a U.S. exchange that the objecting Settlement

Class Member purchased and/or sold during the Settlement Class Period, as well as the dates and

prices of each such purchase and sale; and (d) identify any class action (by case name, case number

and court) in which the objector has filed an objection to a settlement in the past five years, and

the nature of each such objection. Objectors who enter an appearance and desire to present

evidence at the Final Approval Hearing in support of their objection must include in their written

objection or notice of appearance the identity of any witnesses they may call to testify and any

exhibits they intend to introduce into evidence at the hearing.

       20.     Any Settlement Class Member who or which does not make his, her or its objection

in the manner provided herein shall be deemed to have waived his, her or its right to object to any

aspect of the proposed Settlement, the proposed Plan of Allocation, and Lead Counsel's motion

for an award of attorneys' fees and reimbursement of Litigation Expenses and shall be forever

barred and foreclosed from objecting to the fairness, reasonableness or adequacy of the Settlement,

the Plan of Allocation or the requested attorneys' fees and Litigation Expenses, or from otherwise

being heard concerning the Settlement, the Plan of Allocation or the requested attorneys' fees and

Litigation Expenses in this or any other proceeding.

       21.     Stay and Temporary Injunction- Until otherwise ordered by the Court, the Court

stays all proceedings in the Action other than proceedings necessary to carry out or enforce the

terms and conditions of the Stipulation. Pending final determination of whether the Settlement

should be approved, the Court bars and enjoins Plaintiffs, and all other members of the Settlement




                                                 12
         Case 3:20-cv-00171-AC         Document 30       Filed 10/19/20      Page 13 of 15




Class, from commencing or prosecuting any and all of the Released Plaintiffs' Claims against each

and all of Defendant Releasees.

         22.   Settlement Administration Fees and Expenses - All reasonable costs incuned in

identifying Settlement Class Members and notifying them of the Settlement as well as in

administering the Settlement shall be paid as set forth in the Stipulation without further order of

the Court.

         23.   Settlement Fund - The contents of the Settlement Fund held by The Huntington

National Bank (which the Court approves as the Escrow Agent), shall be deemed and considered

to be in custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until

such time as they shall be distributed pursuant to the Stipulation and/or further order(s) of the

Court.

         24.   Taxes-Lead Counsel is authorized and directed to prepare any tax returns and any

other tax reporting form for or in respect to the Settlement Fund, to pay from the Settlement Fund

any Taxes owed with respect to the Settlement Fund, and to otherwise perform all obligations with

respect to Taxes and any reporting or filings in respect thereof without further order of the Court

in a manner consistent with the provisions of the Stipulation. Defendant Releasees shall not have

any liability or responsibility for the preparation of any such tax returns or reports or the payment

of any such taxes.

         25.   Termination of Settlement - If the Settlement is terminated as provided in the

Stipulation, the Settlement is not approved, or the Effective Date of the Settlement otherwise fails

to occur, this Order shall be vacated, rendered null and void and be of no further force and effect,

except as otherwise provided by the Stipulation, and this Order shall be without prejudice to the

rights of Plaintiffs, the other Settlement Class Members and Defendants, and the Parties shall




                                                 13
        Case 3:20-cv-00171-AC          Document 30        Filed 10/19/20      Page 14 of 15




revert to their respective positions in the Action as of immediately prior to the execution of the

MOU on August 14, 2020, as provided in the Stipulation.

       26.     Use of this Order -This Order, the MOU executed by the Parties on August 14,

2020 (the "MOU"), the Stipulation (whether or not consummated), including the exhibits thereto

and the Plan of Allocation contained therein (or any other plan of allocation that may be approved

by the Court), the negotiations, discussions, and actions leading to the execution of the MOU and

the Stipulation, and any proceedings taken pursuant to or in connection with the MOU, the

Stipulation and/or approval of the Settlement (including any arguments proffered in connection

therewith): (a) shall not be offered against any of Defendant Releasees as evidence of, or construed

as, or deemed to be evidence of any presumption, concession, or admission by any of Defendant

Releasees with respect to the truth of any fact alleged by Plaintiffs or the validity of any claim that

was or could have been asserted or the deficiency of any defense that has been or could have been

asserted in this Action or in any other litigation, or of any liability, negligence, fault, or other

wrongdoing of any kind of any of the Defendant Releasees or in any way referred to for any other

reason as against any of the Defendant Releasees, in any civil, criminal or administrative action or

proceeding, other than such proceedings as may be necessary to effectuate the provisions of the

Stipulation; (b) shall not be offered against any of the Plaintiff Releasors, as evidence of, or

construed as, or deemed to be evidence of any presumption, concession or admission by any of the

Plaintiff Releasors that any of their claims are without merit, that any of the Defendant Releasees

had meritorious defenses, or that damages recoverable under the Complaint would not have

exceeded the Settlement Amount or with respect to any liability, negligence, fault or wrongdoing

of any kind, or in any way referred to for any other reason as against any of the Plaintiff Releasors,

in any civil, criminal or administrative action or proceeding, other than such proceedings as may




                                                  14
       Case 3:20-cv-00171-AC          Document 30       Filed 10/19/20     Page 15 of 15




be necessary to effectuate the provisions of the Stipulation; and (c) shall not be construed against

any of the Releasees as an admission, concession, or presumption that the consideration to be given

under the Settlement represents the amount which could be or would have been recovered after

trial; provided, however, that if the Stipulation is approved by the Court, the Parties and the

Releasees and their respective counsel may refer to it to effectuate the protections from liability

granted thereunder or otherwise to enforce the terms of the Settlement.

       27.     Supporting Papers - Lead Counsel shall file and serve the opening papers in

support of the proposed Settlement, the Plan of Allocation, and Lead Counsel's motion for an

award of attorneys' fees and reimbursement of Litigation Expenses no later than thirty-five (35)

calendar days prior to the Final Approval Hearing; and reply papers, if any, shall be filed and

served no later than seven (7) calendar days prior to the Final Approval Hearing.

       28.     The Court retains jurisdiction to consider all further applications arising out of or

connected with the proposed Settlement.

       IT IS SO ORDERED this           ;·?~day of October, 2020.




                                                                 tates Magistrate Judge




                                                15
